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     Counsel for Plaintiffs
14
                            IN THE UNITED STATES DISTRICT COURT
15                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
16

17   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
18                                                   PLAINTIFFS’ ADMINISTRATIVE
            Plaintiffs,                              MOTION TO CONSIDER WHETHER
19                                                   ANOTHER PARTY’S MATERIAL SHOULD
            v.                                       BE SEALED
20
     GOOGLE LLC,                                     CIVIL L.R. 7-11 and 79-5(f)
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            Defendant.                               Referral:      Honorable Susan van Keulen
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                                                     No Hearing Date Set Pursuant to L.R. 7-11(c)
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 1           Pursuant to Civil Local Rules 7-11 and 79-5(f) and the Stipulated Protective Order entered
 2   in this matter, Dkt. No. 61, Plaintiffs respectfully submit this Administrative Motion to Consider
 3   Whether Another Party’s Material Should be Sealed, to the extent such material is quoted,
 4   summarized, or otherwise reflected in the documents (or portions thereof) indicated below:
 5                  Document              Portions Sought to be Sealed            Evidence Offered in
 6                                                                                Support of Sealing
            Plaintiffs’ Statement      Lines 3-5, 8-9, 9-10, 14-15, 18, 19,     Defendant to provide
       1    Pursuant to Court          20-21, 23-24, 24-26, 27-29, 30-32,       evidence, per
 7
            Order (Dkt. 684)           32-33, 35-36, 37-39                      Local Rule 79-5(f)
 8

 9
            Exhibit A to               Entire document                          Defendant to provide
       2    Plaintiffs’ Statement                                               evidence, per
10
                                                                                Local Rule 79-5(f)
11
            Exhibit B to Plaintiffs’ Entire document                            Defendant to provide
12     3    Statement                                                           evidence, per
                                                                                Local Rule 79-5(f)
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             Paragraph 12.4 of the Stipulated Protective Order prohibits a party from filing materials
15
     designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in the public record.
16
     Portions of the documents listed above quote, summarize, or otherwise reflect information that
17
     Defendant Google LLC has designated “Confidential” or “Highly Confidential – Attorneys’ Eyes
18
     Only.” Pursuant to Civil Local Rules 79-5(c)(1) and (f)(3), Defendant, as the Designating Party,
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     bears the responsibility to establish that all of the designated material is sealable.
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             In accordance with Civil Local Rules 79-5(d) and (e), the following attachments accompany
21
     this motion:
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                 1. a proposed order that lists in table format the documents sought to be sealed;
23
                 2. a redacted version of Plaintiffs’ Statement Pursuant to Court Order (Dkt. 684);
24
                 3. an unredacted version of Plaintiffs’ Statement Pursuant to Court Order (Dkt. 684);
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                 4. an unredacted version of Exhibit A to Plaintiffs’ Statement; and
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                 5. an unredacted version of Exhibit B to Plaintiffs’ Statement.
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     PLS. ADMIN. MOT. TO SEAL                           1             CASE NO. 4:20-CV-05146-YGR-SVK
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 1
     Dated: June 10, 2022                              Respectfully submitted,
 2
     BLEICHMAR FONTI & AULD LLP                        DICELLO LEVITT GUTZLER LLC
 3
     By: /s/ Lesley E. Weaver                          By:     /s/ David Straite
 4   Lesley Weaver (Cal. Bar No. 191305)               David A. Straite (admitted pro hac vice)
     Angelica M. Ornelas (Cal. Bar No. 285929)         Corban Rhodes (admitted pro hac vice)
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     jsamra@bfalaw.com                                 Amy Keller (admitted pro hac vice)
 9                                                     Adam Prom (admitted pro hac vice)
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17                                       Counsel for Plaintiffs

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     PLS. ADMIN. MOT. TO SEAL                      2              CASE NO. 4:20-CV-05146-YGR-SVK
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 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, Jay Barnes, attest that concurrence in the filing of this document has been obtained from
 3   the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4
     Dated: June 10, 2022                           /s/ Jay Barnes
 5
                                                    Jay Barnes
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     ATTESTATION                                                     CASE NO. 4:20-CV-05146-YGR-SVK
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 1                                   CERTIFICATE OF SERVICE
 2          I, Jay Barnes, hereby certify that on May 27, 2022, I electronically filed the foregoing
 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record. I also
 5   caused a copy of the under seal filings to be delivered to counsel for Defendant Google LLC via
 6   electronic mail.
 7
     Dated: June 10, 2022                         /s/ Jay Barnes
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                                                  Jay Barnes
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     CERTIFICATE OF SERVICE                                        CASE NO. 4:20-CV-05146-YGR-SVK
